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v Hovv each defendant was involved in the conduct vou are complaining
about

|f you were ;:»hvsica||_\,lr injured b‘_v the alleged misconductl describe the nature of

vour injuries and the medical evaluation and treatment vou were provided. ‘r*ou

need not cite to case law or statutes or provide legal argument in the Btatement
of Facts. l_lse additional sheets of paper if necessary

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"-.l'. STATEMENT {JF CLA|M[S}

State oriefl§f,.r and concisely the constitutional andl'or statutory basis for each claim
vou seek to assert and identil‘vr the defendant(s} againstwhom each claim is

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'i.l'l.

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asserted Ccmmon|y asserted claims include: excessive force'l failure to protecf;
deliberate indifference to medical needs; unconstitutional conditions of
confinement denial of due process in a disciplinary or other proceeding; denial of
equal protection; retaliation for the exercise ofa First amendment rightl and
interference with free exercise of religion Lega| argument and case citations are
not required Llae additional sheets of paper if necessary

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THlRD CLA|M

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EEL|EF REQU ESTED

St- e briefly what relief you are seeking in this case.

 

 

l declare underpena|ty of perjury that the foregoing is true and correct

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Plaintiff'slzignature
fall plaintiffs must sign the complaint}

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